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February 28, 2025

VIA ECF

The Honorable Lewis J. Liman
United States District Court
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.
New York, NY 10007

Re:    Lively v. Wayfarer Studios LLC et al., No. 1:24-cv-10049-LJL (“Lively Case”); Wayfarer
       Studios LLC et al. v. Lively et al., No. 1:25-cv-00449-LJL (“Wayfarer Case”)

Dear Judge Liman,

        Counsel for Blake Lively writes in response to the February 28, 2025 letter submitted to the Court
by counsel for the Wayfarer Parties as well as non-parties Wayfarer executive Tera Hanks and Wayfarer
employees Milica Tošković and Jarriesse Blackmon. See Dkt. No. 103. Ms. Lively has issued party
requests and subpoenas, for phone records and documents reflecting the alleged retaliatory scheme,
directly to the Wayfarer Parties and third parties who were the subject of Ms. Lively’s initial subpoenas.
In connection thereto, Ms. Lively has issued letters to each of AT&T, Verizon, and T-Mobile U.S.
withdrawing the initial subpoenas and respectfully requests that the Court deny the motion filed by the
Wayfarer Parties at Docket No. 103 as moot.


                                                      Respectfully submitted,

                                                      /s/ Michael J. Gottlieb

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Hon. Lewis J. Liman
February 28, 2025


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